                                                      APPEAL,CLOSED,PRISONER,PSA−JD,RF
                              United States District Court
                       Eastern District of Wisconsin (Milwaukee)
                    CIVIL DOCKET FOR CASE #: 2:17−cv−00482−PP

West v. Kind et al                                      Date Filed: 04/04/2017
Assigned to: Chief Judge Pamela Pepper                  Date Terminated: 03/09/2020
Demand: $1,000,000                                      Jury Demand: Defendant
Cause: 42:1983 Prisoner Civil Rights                    Nature of Suit: 555 Prisoner: Conditions of
                                                        Confinement
                                                        Jurisdiction: Federal Question

Plaintiff
Rufus West                               represented by Rufus West
also known as                                           225213
Muslim Mansa Lutalo Iyapo                               Green Bay Correctional Institution
                                                        PO Box 19033
                                                        Green Bay, WI 54307−9033
                                                        PRO SE


V.
Defendant
John Kind                                represented by Rebecca A Paulson
Security Director                                       Wisconsin Department of Justice
                                                        Office of the Attorney General
                                                        17 W Main St
                                                        PO Box 7857
                                                        Madison, WI 53707−7857
                                                        608−266−0278
                                                        Fax: 608−267−8906
                                                        Email: paulsonra@doj.state.wi.us
                                                        ATTORNEY TO BE NOTICED

Defendant
Warden Scott Eckstein                    represented by Wisconsin Dept of Justice − 1983 Actions
Warden                                                  Email: DLSFedOrdersEastCL@doj.state.wi.us
                                                        TERMINATED: 10/01/2018

                                                        Rebecca A Paulson
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

Defendant
Pete Ericksen
TERMINATED: 07/31/2018


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Defendant
Brian Foster
TERMINATED: 04/24/2018

Defendant
Sarah Cooper
TERMINATED: 04/24/2018

Defendant
Brad Hompe                                  represented by Rebecca A Paulson
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

Defendant
Cindy O'Donnell                             represented by Rebecca A Paulson
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

Defendant
John and Jane Doe
TERMINATED: 07/31/2018

Defendant
Isaac Buhle                                 represented by Rebecca A Paulson
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED


 Date Filed   #   Page Docket Text
 04/04/2017   1        PRISONER COMPLAINT against All Defendants filed by Rufus West.
                       (Attachments: # 1 Cover letter)(bx) (Entered: 04/05/2017)
 04/04/2017   2        MOTION for Order to Have Filing Fee Paid from Release Account filed by
                       Rufus West. (bx) (Entered: 04/05/2017)
 04/05/2017   3        LETTER from the clerk to plaintiff re Consent/Refusal to Magistrate Judge
                       Nancy Joseph and requesting that the consent/refusal form, IFP, a six month
                       trust account statement and or payment be filed within 21 days (bx)
 04/06/2017   4        LETTER from the Clerk to Rufus West regarding the Prisoner E−Filing
                       Program. (cc: All Counsel) (Attachments: # 1 Prisoner E−Filing Information
                       Packet)(tlf)
 04/13/2017   5        REFUSAL to Consent to Jurisdiction by US Magistrate Judge by plaintiff Rufus
                       West (vkb)
 04/13/2017   6        MOTION for Leave to Proceed Without Prepayment of the Filing Fee by
                       plaintiff Rufus West (vkb)
 04/13/2017   7        Prisoner Trust Fund Account Statement filed by plaintiff Rufus West (vkb)

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04/18/2017    8    ORDER signed by Judge Pamela Pepper on 4/18/2017 DENYING 2 Plaintiff's
                   motion for order to have the filing fee paid from the release account. (cc: all
                   counsel; by US Mail to plaintiff) (pwm)
04/19/2017    9    ORDER that on or before 5/12/2017 plaintiff shall forward to the Clerk of Court
                   the sum of $ 29.97 as an initial partial filing fee in this action signed by Judge
                   Pamela Pepper on 4/19/2017. (cc: all counsel; by US Mail to plaintiff and
                   warden at Green Bay CI)(pwm)
05/02/2017         INITIAL PARTIAL FILING FEE Received: $29.97, receipt number
                   MK4689−mk4689065380. ; the payment of all future filing fees will be
                   maintained by the financial department (cms)
06/08/2017   10    MOTION to Appoint Counsel by Rufus West. (Attachments: # 1 Letter from
                   Counsel)(tlf)
11/17/2017   11    SUPPLEMENT by Rufus West re 1 Complaint − Prisoner. (mac)
02/22/2018   12    REQUEST for Status Update by Rufus West. (mac)
03/30/2018   14    AMENDED ORDER signed by Judge Pamela Pepper on 3/30/2018. 6 Plaintiff's
                   MOTION for leave to proceed without prepayment of the filing fee GRANTED;
                   agency having custody of plaintiff to collect $320.03 balance of filing fee from
                   plaintiff's prison trust account under 28 USC §1915(b)(2). 10 Plaintiff's
                   MOTION to appoint counsel DENIED without prejudice. By end of day
                   5/4/2018, plaintiff to file amended complaint; failure to file by deadline may
                   result in dismissal of case for failure to prosecute. (cc: all counsel, via mail to
                   Rufus West and Warden at Green Bay Correctional Institution)(cb) (Entered:
                   04/09/2018)
04/03/2018   13    ORDER signed by Judge Pamela Pepper on 4/3/2018. 6 Plaintiff's MOTION for
                   leave to proceed without prepayment of the filing fee GRANTED; agency
                   having custody of plaintiff to collect $320.03 balance of filing fee from
                   plaintiff's prison trust account under 28 USC §1915(b)(2). 10 Plaintiff's
                   MOTION to appoint counsel DENIED without prejudice. By end of day
                   5/4/2018, plaintiff to file amended complaint; failure to file by deadline may
                   result in dismissal of case for failure to prosecute. (cc: all counsel, via mail to
                   Rufus West and Warden at Green Bay Correctional Institution)(cb)
04/24/2018   15    AMENDED COMPLAINT against Scott Eckstein, Pete Ericksen, Brad Hompe,
                   John Kind, Cindy O'Donnell, CO Buhle, John and Jane Doe filed by Rufus
                   West.(mac)
07/31/2018   16    ORDER signed by Judge Pamela Pepper on 7/31/2018. Defendants John and
                   Jane Doe and Pete Ericksen DISMISSED. Plaintiff's request to appoint counsel
                   DENIED without prejudice. Defendants Kind, Eckstein, Hompe, O'Donnell and
                   Buhle to file responsive pleading to amended complaint within 60 days. Parties
                   may not begin discovery until the court enters scheduling order setting deadlines
                   for discovery and dispositive motions. (cc: all counsel, via mail to Rufus West at
                   Green Bay Correctional Institution)(cb)
08/09/2018   17    NOTICE of Appearance by Rebecca A Paulson on behalf of CO Buhle, Scott
                   Eckstein, Brad Hompe, John Kind, Cindy O'Donnell. Attorney(s) appearing:
                   Rebecca A. Paulson (Attachments: # 1 Certificate of Service)(Paulson, Rebecca)
08/09/2018   18
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                   ACCEPTANCE OF SERVICE BY DOJ as to CO Buhle, Scott Eckstein, Brad
                   Hompe, John Kind, Cindy O'Donnell (Paulson, Rebecca)
08/22/2018   19    MOTION to File Second Amended Complaint filed by Rufus West.
                   (Attachments: # 1 Proposed Second Amended Complaint)(kmm)
08/22/2018   20    COMPLIANCE NOTICE sent to Rufus West re 19 MOTION to File Second
                   Amended Complaint. (tlf)
09/28/2018   21    ANSWER to 15 Amended Complaint with Jury Demand by Isaac Buhle, Scott
                   Eckstein, Brad Hompe, John Kind, Cindy O'Donnell. (Attachments: # 1
                   Certificate of Service)(Paulson, Rebecca)
12/04/2018   22    ORDER signed by Judge Pamela Pepper on 12/4/2018 DENYING 19 Plaintiff's
                   Motion to File Second Amended Complaint. (cc: all counsel, via mail to Rufus
                   West at Green Bay Correctional Institution) (cb)
12/04/2018   23    SCHEDULING ORDER signed by Judge Pamela Pepper on 12/4/2018.
                   Discovery due 4/5/2019; dispositive motions due 5/6/2019. (cc: all counsel, via
                   mail to Rufus West at Green Bay Correctional Institution−with copies of
                   Answers to Prisoner and Pro Se Litigants' Common Questions)(cb)
01/30/2019   24    MOTION to Compel Discovery by Rufus West. (Attachments: # 1 Discovery
                   communication and responses)(lh) (Entered: 01/31/2019)
02/20/2019   25    RESPONSE to Motion filed by Isaac Buhle, Scott Eckstein, Brad Hompe, John
                   Kind, Cindy O'Donnell re 24 MOTION to Compel . (Attachments: # 1
                   Certificate of Service)(Paulson, Rebecca)
03/20/2019   26    REPLY BRIEF in Support filed by plaintiff Rufus West re 24 MOTION to
                   Compel (Attachments: # 1 Envelope)(vkb) (Entered: 03/21/2019)
03/21/2019         NOTICE of Change of Address as to Rufus West; per DOC Inmate Locater,
                   Plaintiff was transferred to Redgranite Correctional Institution on 2/15/2019.
                   (tlf)
05/06/2019   27    TRANSCRIPT of Deposition of Rufus West held on March 11, 2019
                   (Attachments: # 1 Certificate of Service)(Paulson, Rebecca)
05/06/2019   28    MOTION for Summary Judgment by Isaac Buhle, Scott Eckstein, Brad Hompe,
                   John Kind, Cindy O'Donnell. (Paulson, Rebecca)
05/06/2019   29    BRIEF in Support filed by Isaac Buhle, Scott Eckstein, Brad Hompe, John Kind,
                   Cindy O'Donnell re 28 MOTION for Summary Judgment . (Paulson, Rebecca)
05/06/2019   30    Proposed Findings of Fact by Isaac Buhle, Scott Eckstein, Brad Hompe, John
                   Kind, Cindy O'Donnell (Paulson, Rebecca)
05/06/2019   31    DECLARATION of Bradley Hompe (Attachments: # 1 Exhibit 1001−
                   GBCI−2016−15138)(Paulson, Rebecca)
05/06/2019   32    DECLARATION of Scott Eckstein (Attachments: # 1 Exhibit 1002− West's
                   July 7, 2016 Interview/Information Request Form, # 2 Exhibit 1003− Memo
                   dated July 12, 2016)(Paulson, Rebecca)
05/06/2019   33    DECLARATION of Cindy O'Donnell (Paulson, Rebecca)
05/06/2019   34
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                   DECLARATION of John Kind (Attachments: # 1 Exhibit 1004− DAI Policy
                   306.17.02 effective 5/1/15)(Paulson, Rebecca)
05/06/2019   35    DECLARATION of Isaac Buhle (Paulson, Rebecca)
05/06/2019   36    DECLARATION of Rebecca A. Paulson (Attachments: # 1 Exhibit 1007−
                   West's December 11, 2018 Discovery Request to Buhle)(Paulson, Rebecca)
05/06/2019   37    DECLARATION of Michelle Smith (Paulson, Rebecca)
05/06/2019   38    DECLARATION of Alan DeGroot (Attachments: # 1 Exhibit 1005− DAI
                   Policy 500.70.27 effective 4/20/18, # 2 Exhibit 1006− DAI Policy 306.17.02
                   effective 9/17/18)(Paulson, Rebecca)
05/06/2019   39    UNPUBLISHED Decision Garner v. Muenchow, 715 Fed.Appx. 533 (2017)
                   filed by Isaac Buhle, Scott Eckstein, Brad Hompe, John Kind, Cindy O'Donnell
                   (Paulson, Rebecca)
05/06/2019   40    UNPUBLISHED Decision Kramer v. Pollard, 497 Fed.Appx. 639 (2012) filed
                   by Isaac Buhle, Scott Eckstein, Brad Hompe, John Kind, Cindy O'Donnell
                   (Paulson, Rebecca)
05/06/2019   41    UNPUBLISHED Decision Riley v. Ewing USDC WDWI 15CV592 filed by Isaac
                   Buhle, Scott Eckstein, Brad Hompe, John Kind, Cindy O'Donnell (Attachments:
                   # 1 Certificate of Service)(Paulson, Rebecca)
05/13/2019   42    MOTION for Summary Judgment and BRIEF IN SUPPORT filed by plaintiff
                   Rufus West (Attachments: # 1 Envelope)(vkb)
05/13/2019   43    Proposed Findings of Fact filed by plaintiff Rufus West (Attachments: # 1
                   Exhibits (bookmarked))(vkb)
05/13/2019   44    DECLARATION of Thomas Geske (vkb)
05/13/2019   45    DECLARATION of Keith Hughes (vkb)
06/06/2019   46    MOTION for Sanctions filed by plaintiff Rufus West (vkb) (Entered:
                   06/07/2019)
06/06/2019   47    MOTION for Costs and Fees filed by plaintiff Rufus West (vkb) (Entered:
                   06/07/2019)
06/06/2019   48    Additional Proposed Findings of Fact filed by plaintiff Rufus West
                   (Attachments: # 1 Exhibit)(vkb) (Entered: 06/07/2019)
06/06/2019   49    BRIEF in Opposition filed by plaintiff Rufus West re 28 MOTION for
                   Summary Judgment (vkb) (Entered: 06/07/2019)
06/06/2019   50    RESPONSE filed by plaintiff Rufus West re 30 Defendants' Proposed Findings
                   of Fact (vkb) (Entered: 06/07/2019)
06/12/2019   51    BRIEF in Opposition filed by Isaac Buhle, Scott Eckstein, Brad Hompe, John
                   Kind, Cindy O'Donnell re 42 MOTION for Summary Judgment . (Attachments:
                   # 1 Certificate of Service)(Paulson, Rebecca)
06/12/2019   52    RESPONSE filed by Isaac Buhle, Scott Eckstein, Brad Hompe, John Kind,
                   Cindy O'Donnell re 43 Proposed Findings of Fact (Paulson, Rebecca)


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06/19/2019   53    MOTION to Strike Defendants' Response to Plaintiff's Motion for Summary
                   Judgment filed by plaintiff Rufus West (vkb)
06/19/2019   54    MOTION for Default Judgment as to defendants filed by plaintiff Rufus West
                   (Attachments: # 1 Proposed Default Judgment)(vkb)
06/19/2019   55    AFFIDAVIT of Rufus West in Support of Motion for Entry of Default (vkb)
06/20/2019   56    REPLY BRIEF in Support filed by Isaac Buhle, Scott Eckstein, Brad Hompe,
                   John Kind, Cindy O'Donnell re 28 MOTION for Summary Judgment . (Paulson,
                   Rebecca)
06/20/2019   57    RESPONSE filed by Isaac Buhle, Scott Eckstein, Brad Hompe, John Kind,
                   Cindy O'Donnell re 48 Proposed Findings of Fact (Paulson, Rebecca)
06/20/2019   58    RESPONSE to Motion filed by Isaac Buhle, Scott Eckstein, Brad Hompe, John
                   Kind, Cindy O'Donnell re 46 MOTION for Sanctions . (Attachments: # 1
                   Certificate of Service)(Paulson, Rebecca)
07/01/2019   59    REPLY BRIEF in Support filed by plaintiff Rufus West re 46 MOTION for
                   Sanctions (Attachments: # 1 Envelope)(vkb) (Entered: 07/02/2019)
07/01/2019   60    REPLY BRIEF in Support filed by plaintiff Rufus West re 42 MOTION for
                   Summary Judgment (vkb) (Entered: 07/02/2019)
07/01/2019   61    REPLY filed by plaintiff Rufus West re 52 Defendants' Response to 43
                   Plaintiff's Proposed Findings of Fact (vkb) (Entered: 07/02/2019)
07/01/2019   62    REPLY filed by plaintiff Rufus West re 57 Defendants' Response to 48
                   Plaintiff's Additional Proposed Findings of Fact (vkb) (Entered: 07/02/2019)
07/09/2019   63    BRIEF in Opposition filed by Isaac Buhle, Scott Eckstein, Brad Hompe, John
                   Kind, Cindy O'Donnell re 53 MOTION to Strike, 54 MOTION for Default
                   Judgment as to defendants . (Attachments: # 1 Certificate of Service)(Paulson,
                   Rebecca)
07/22/2019   64    REPLY BRIEF in Support filed by plaintiff Rufus West re 53 MOTION to
                   Strike and 54 MOTION for Default Judgment (Attachments: # 1 Envelope)(vkb)
                   (Entered: 07/23/2019)
07/31/2019   65    MOTION for a Cease and Desist Harassment Order filed by plaintiff Rufus
                   West (Attachments: # 1 Envelope)(vkb)
09/17/2019   66    ORDER signed by Judge Pamela Pepper on 9/17/2019. 24 Plaintiff's motion to
                   compel DENIED as moot. 46 Plaintiff's motion for sanctions DENIED. 47
                   Plaintiff's motion for costs and fees DENIED. 53 Plaintiff's motion to strike
                   defendants' response DENIED. 54 Plaintiff's motion for default judgment
                   DENIED. 65 Plaintiff's motion for cease and desist harassment order DENIED.
                   (cc: all counsel, via mail to Rufus West at Redgranite Correctional Institution)
                   (cb)
03/09/2020   67    ORDER DISMISSING CASE signed by Chief Judge Pamela Pepper on
                   3/9/2020. 28 Defendants' motion for summary judgment GRANTED. 42
                   Plaintiff's motion for summary judgment DENIED. (cc: all counsel, via mail to
                   Rufus West at Redgranite Correctional Institution)(cb)
03/09/2020   68

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                   JUDGMENT signed by Deputy Clerk and approved Chief Judge Pamela Pepper
                   on 3/9/2020. (cc: all counsel, via mail to Rufus West at Redgranite Correctional
                   Facility)(cb)
03/18/2020   69    NOTICE of Change of Address as to plaintiff Rufus West to Green Bay
                   Correctional Institution (vkb) (Entered: 03/19/2020)
03/25/2020   70    LETTER from plaintiff stating he has yet to receive a copy of the closing order
                   and judgment; mailed copies to pltf at GBCI (Attachments: # 1 Envelope)(vkb)
04/08/2020   71    NOTICE OF APPEAL by Rufus West from USDC re: 68 Judgment, 67 Order
                   Dismissing Case (cc: all counsel)Newlin Notice to be sent by 6/5/2020
                   (Attachments: # 1 Issues on Appeal, # 2 cover letter)(lh)




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                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________
RUFUS WEST,

                           Plaintiff,
      v.                                            Case No. 17-cv-482-pp

JOHN KIND, WARDEN SCOTT ECKSTEIN,
BRAD HOMPE, CINDY O’DONNELL,
and ISAAC BUHLE,

                        Defendants.
______________________________________________________________________________

  ORDER GRANTING DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
      (DKT. NO. 28), DENYING PLAINTIFF’S MOTION FOR SUMMARY
             JUDGMENT (DKT. NO. 42) AND DISMISSING CASE
______________________________________________________________________________

      Plaintiff Rufus West is a prisoner representing himself. The court

screened his amended complaint and allowed him to proceed on a claim that

defendants Isaac Buhle, John Kind and Scott Eckstein violated his right to

freely exercise his religion, subjecting him to pressure to violate his beliefs by

submitting to a strip-search in front of, or by, an allegedly female officer. Dkt.

No. 16 at 7. The court also permitted the plaintiff to proceed on a Religious

Land Use and Institutionalized Persons Act claim based on allegations that

Buhle, Kind and Eckstein imposed a substantial burden on his First

Amendment free exercise rights and that there was no compelling interest in

having Officer Buhle search him or observe the search. Id. Finally, the court

allowed the plaintiff to proceed on claims against defendants Brad Hompe and

Cindy O’Donnell for allegedly failing to intervene in the violation of the

plaintiff’s rights. Id. at 10-11.

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      The parties have filed cross-motions for summary judgment. Dkt. Nos.

28, 42.

I.    Facts

      The plaintiff has been a prisoner at Redgranite Correctional Institution

since February 2019. Dkt. No. 30 at ¶1; Dkt. No. 43 at ¶¶1, 8. Before that, and

on July 2, 2016, the plaintiff was confined at Green Bay Correctional

Institution. Dkt. No. 30 at ¶1; Dkt. No. 43 at ¶7. Defendant Officer Isaac Buhle

is a correctional officer at Green Bay. Dkt. No. 30 at ¶2; Dkt. No. 43 at ¶4.

Defendant John Kind is the security director at Green Bay. Dkt. No. 30 at ¶3;

Dkt. No. 43 at ¶2. Defendant Scott Eckstein was the warden at Green Bay

during the events described in the complaint. Dkt. No. 30 at ¶4; Dkt. No. 43 at

¶3. Defendant Bradley Hompe is a corrections complaint examiner for the

Department of Corrections. Dkt. No. 30 at ¶5; Dkt. No. 43 at ¶5. Defendant

Cindy O’Donnell is the policy initiatives advisor and the secretary’s designee for

the purpose of making final agency decisions on offender complaints filed by

inmates under the inmate complaint review system. Dkt. No. 30 at ¶6; Dkt. No.

43 at ¶6.

      The plaintiff, who is a male, embraced Islam in 1995. Dkt. No. 43 at

¶¶9,11. The plaintiff asserts that Islamic law prohibits the plaintiff from

exposing his nakedness to anybody, but especially to females, as defined by

genitalia at birth. Dkt. No. 30 at ¶7; Dkt. No. 43 at ¶12. The plaintiff says that

although he has been imprisoned since 1994, he never had been strip searched

by a female staff member. Dkt. No. 43 at ¶16.


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      Although Buhle was assigned female at birth, he identifies as a man.

Dkt. No. 30 at ¶12. Green Bay hired Buhle as a male officer in January 2016.

Id. at ¶35. Kind and Eckstein consulted with Human Resources when Buhle

was hired and were told that he should be “treated based on the gender by

which he identified.” Id. When he was hired, Buhle was told his duties would

include all the duties of a male officer, including performing routine strip

searches as needed. Id. at ¶36. The defendants assert that the plaintiff

assumed, when Buhle started at Green Bay, that Buhle was a woman based on

Buhle’s voice and appearance. Id. at ¶37.

      On July 2, 2016, the plaintiff had a visit with a friend. Dkt. No. 30 at ¶8;

Dkt. No. 43 at ¶19. Afterward, he went to the strip search area for a routine

strip search under a policy requiring that all prisoners are strip searched after

contact visits with people from the street. Dkt. No. 43 at ¶19. Several officers

were conducting strip searches. Id. On July 2, 2016, he strip search room at

Green Bay contained several stalls to protect inmates’ privacy. Dkt. No. 30 at

¶16. Each stall had a curtain in the front to obscure inmates’ private areas

from view by people other than the officer performing the strip search. Id.

      Buhle does not recall the July 2, 2016 strip search incident the plaintiff

described in his complaint. Dkt. No. 35 at ¶13. The plaintiff describes the

incident as follows:

      When it was [the plaintiff’s] turn to be strip searched, he was the
      last prisoner to be strip searched and the prisoners who were
      present in the area were finishing getting dressed. It was during this
      time that [the plaintiff] was approached by Buhle who attempted to
      strip search him by ordering him to strip. [The plaintiff] asked her
      how was she able to do that and she responded, “I’m a dude.” [The
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      plaintiff] looked at the male officers to see if this was a prank. They
      looked at [the plaintiff] and then looked at the floor in order to avoid
      eye contact with him. [The plaintiff] turned back to address Buhle,
      realizing that it was not a prank and started to panic because he
      knew that Buhle was a female based on her female features (breasts,
      face, voice and demeanor, and addressing her in the past as “Ms.”
      or “ma’am”) and that exposing his nakedness to her would be in
      violation of his Islamic beliefs, and also that if he refused to comply
      with the strip search he would be subjected to the abuse and
      humiliation based on past experience that would result from staff
      forcibly strip searching [the plaintiff] by cutting all of his clothes off;
      physically examining his body by touching him everywhere-
      including under his penis, around his testicles, and in between his
      buttocks by spreading them; and then locking him up in punitive
      segregation. [The plaintiff] repeated his question to Buhle and she
      answered the same. [The plaintiff’s] panic intensified. He humiliated
      himself by nervously asking the male officers, who had by this time
      huddled close together adjacent to her, would one of them please
      strip search him, which one of them did while she looked on and
      observed.

Dkt. No. 43 at ¶20; Dkt. No. 30 at ¶¶9-10, 27-34. The defendants don’t dispute

much of this, but assert that the plaintiff hasn’t demonstrated that if he’d

refused, things would have happened as he says, and they dispute that Buhle

observed the strip search. Dkt. No. 52 at ¶20. The defendants also state that if

Buhle had observed, he would have been watching the officer who performed

the strip search, not the plaintiff. Id.

      In the plaintiff’s additional proposed findings of fact, filed in response to

the defendants’ motion for summary judgment, the plaintiff adds to his

description of the strip search. Dkt. No. 48. He states that after the other

officer stepped in to strip search him, the officer asked the plaintiff, while

Buhle was standing right there, “What’s going on?” Dkt. No. 48 at ¶62. The




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plaintiff states that he responded, “It’s against my religion for her to see me

naked.”1 Id.

      On July 7, 2016, the plaintiff submitted an Interview/Information

Request to Kind and Eckstein to request an “Exemption from exposing

nakedness to the opposite sex [. . .] because it’s against Islam.” Dkt. No. 43 at

¶23. Several days later, Eckstein responded:

      I am in receipt of your correspondence received 7-7-16 regarding
      your concerns about a recent strip search.

      I have reviewed your correspondence and have also discussed your
      concerns with our Security Director. I have reviewed the situation
      and the officer in question is a male and is qualified to complete
      these duties. If in the future you are directed to submit to a strip
      search by this individual or any other male staff member it is my
      expectation that you will comply.

      I trust that this correspondence has addressed your concerns, if you
      do not agree with my decision please feel free to contact the inmate
      complaint examiner.

Dkt. No. 43 at ¶24; Dkt. No. 43-1 at 3. Kind responded separately and denied

the plaintiff’s request, stating, “This person is a male and any further issues on

this will result in discipline for you.” Dkt. No. 43 at ¶25; Dkt. No. 43-1 at 5.




1 The defendants object to the proposed finding with respect to the plaintiff’s
assertion that he stated his religious objection during the strip search because
it relies on a declaration which contradicts prior sworn testimony (citing Kalis
v. Colgate-Palmolive Co., 231 F.3d 1049, 1055 (7th Cir. 2000)). Dkt. No. 57 at
¶62. Specifically, the defendants argue that the plaintiff described the strip
search in detail at his deposition and never claimed to have asserted on that
day that it was against his religion for Buhle to see him naked. Id. Without
waiving that objection, the defendants dispute that the plaintiff stated a
religious objection during the strip search. Id. Buhle does not recall any inmate
ever explicitly stating an objection based on the inmate’s religious beliefs. Id.
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      The plaintiff filed an inmate complaint regarding the denial of his request

for an exemption from exposing his nakedness to the opposite sex. Dkt. No. 43-

1 at 7-10; Dkt. No. 31-1 at 11-14. The institution complaint examiner

recommended dismissal of the complaint because “[t]he Wisconsin Department

of Corrections has determined that the Officer is able to conduct strip searches

as supported by the Department of Justice National PREA [Prison Rape

Elimination Act of 2003] standards for adult prisoner and jails (§115.15).” Dkt.

No. 43-1 at 11; Dkt. No. 31-1 at 2. The plaintiff appealed, and on September

13, 2016, the corrections complaint examiner, Hompe, recommended dismissal

of the appeal, stating that

      [t]he institution’s decision reasonably and appropriately addressed
      the issue raised by this inmate. On appeal, the inmate presented no
      information to warrant a recommendation overturning that decision.
      GBCI completes strip searches in accordance with DOC 306 and DAI
      Policy 306.17.02. It is also noted the Warden had previously
      addressed the inmate’s concern via a correspondence to the inmate.
      It is recommended this appeal be dismissed.

Dkt. No. 43-1 at 14; Dkt. No. 31-1 at 6. O’Donnell accepted Hompe’s

recommendation and dismissed the plaintiff’s appeal. Dkt. No. 43 at ¶47.

      The plaintiff asserts that he was so distraught about being forced to

expose his nakedness to the opposite sex during the strip search and future

strip searches that on July 14, 2016 he sought psychological help from Green

Bay’s psychological services. Id. at ¶28.

      The Wisconsin Department of Corrections (DOC) Division of Adult

Institution (DAI) Policy and Procedures permits strip searches under six

conditions, including before or after a visit. Dkt. No. 30 at ¶13. The DAI Policy


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provides that during a strip search, an inmate undresses completely and

exposes all body orifices for visual inspection. Id. at ¶18. Each strip search

requires two officers: one to directly observe the inmate during the strip search

and one to observe the strip search from a side position, or an L position. Id.

The officer observing the strip search from the side is typically handed the

clothing and searches through it while the main officer maintains focus on the

inmate to ensure contraband is not dropped or swallowed during the search.

Id. DAI Policy provides that the officer performing the strip search visually

inspects the inmate’s hair, ears, mouth and the entire body (including armpits,

hands, pubic region, between toes, soles of the feet, anus and inner portion of

legs). Id. at ¶19. Inmates are asked to lift breasts and/or genitals, if

appropriate. Id.

      DAI Policy 306.17.02 prohibits female officers from strip searching male

inmates, and male officers from strip searching female inmates, except in

exigent circumstances. Dkt. No. 30 at ¶¶11, 20. DAI policy mimics standards

promulgated by the U.S. Department of Justice on May 12, 2012, under the

PREA. Id. at ¶21. To comply with PREA, 28 U.S.C. §115.15(a), cross-gender

strip searches are prohibited “except in exigent circumstances or when

performed by medical practitioners.” Dkt. No. 30 at ¶21.

      Neither DAI policy nor PREA regulations explicitly consider transgender

staff with respect to strip searches. Id. at ¶22. The defendants indicate,

however, that the U.S. Department of Justice has issued guidance on the

issue, responding to the question: “What gender should transgender staff be


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considered for the purposes of complying with cross-gender viewing and

searching prohibitions established in standard 115.15?”2 Id. The DOJ

responded that individualized determinations should be made based on the

identified gender of the staff member:

      Facilities should verify whether there are any specific legal
      authorities, statutes, or personnel policies that may be relevant to
      this determination. Absent any specific authorities, facilities should
      make an individualized determination based on the identified gender
      of the staff member, and not solely on the basis of the biological
      gender. This decision should be made at the request of, and in
      conjunction with, the transgender staff member. The determination
      may also change during the course of employment, as part of an on-
      going adjustment process, or as the staff member gains real-life
      experience living as a person of the identified gender.3

Id. at ¶23.

      Although DAI policy does not account for transgender staff, it does have

a provision for strip searching transgender inmates. Id. at ¶24. If a transgender

man is housed in a male facility, he can be strip searched only by male officers.

Id. Likewise, transgender women housed in female facilities can be strip

searched only by female officers. Id. A transgender man is a person who was

assigned female at birth and now identifies as male. Id. at ¶25. A transgender

woman is a person who was assigned male at birth and now identifies as

female. Id. Transgender and intersex inmates are placed in housing


2
 The PREA defines “transgender” as “a person whose gender identity (i.e.,
internal sense of feeling male or female) is different from the person’s assigned
sex at birth.” 28 C.F.R. §115.5.
3
 See https://www.prearesourcecenter.org/node/3261 (last visited March 3,
2020). The question and the DOJ’s guidance appear on the web site of the
National PREA Resource Center. The date above the question is April 23, 2014.

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assignments on a case-by-case basis, considering the inmate’s health and

safety, programming, management and security concerns. Id.

      The plaintiff’s maximum discharge date (the date by which he must be

released from prison) is September 10, 2024. Dkt. No. 30 at ¶42. The Human

Resources director at Redgranite testified that she knows of no transgender

staff currently working there. Id. at ¶44. While the plaintiff has been at

Redgranite for the past year, he has been imprisoned at Green Bay on three

separate occasions since 1998. Dkt. No. 48 at ¶76.

      According to the defendants, the State has a compelling interest in

having a bright-line rule as to which staff can perform strip searches for the

sake of prison management. Dkt. No. 30 at ¶56. First shift at Green Bay has

about sixty-nine uniform staff posts, and second shift has about fifty-six

uniform staff posts. Id. These staff members are located throughout the

institution with different areas of responsibility and supervision. Id. To ensure

that consistent strip searches are performed and completed in a timely

manner, there are identified positions that are assigned to complete this job

task. Id. The defendants state that it would be logistically impossible to manage

post assignments if an inmate could dictate who could strip search him based

on whether the person conforms to binary definitions of gender. Id.

      The defendants also state that if specific duties were dependent on a staff

member’s private medical information, inmates could determine personal

information about staff that should remain confidential. Id. at ¶57. If inmates

knew a staff member’s personal medical and mental health history, it would


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put the staff member at risk of harassment and abuse, and make the staff

member vulnerable to manipulation by inmates who could threaten to

blackmail the staff member with the information. Id. The defendants also

assert that if transgender staff were not permitted to perform their duties based

on their gender identity, it could create liability for the State, violate the staff’s

rights, complicate post assignments, provide inmates with ways to circumvent

strip searches and reveal staff’s sensitive medical information. Id. at ¶58.

      The defendants assert that the plaintiff possesses all the items he needs

to be able to pray. Id. at ¶61. He has four Qurans, other religious texts, a kurta

shirt, a kufi cap, a Mishquat, vicar beads, an Islamic ring, a shawl, prayer oil

and a prayer rug. Id. at ¶62. He is able to pray five times per day as required by

his religion. Id. at ¶63. The plaintiff also attends weekly Jum’ah services and

weekly study groups. Id. at ¶64.

II.   Analysis

      A.     Summary Judgment Standard

      “The court shall grant summary judgment if the movant shows that there

is no genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(a); see also Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248 (1986); Celotex Corp. v. Catrett, 477 U.S. 317,

324 (1986); Ames v. Home Depot U.S.A., Inc., 629 F.3d 665, 668 (7th Cir.

2011). “Material facts” are those under the applicable substantive law that

“might affect the outcome of the suit.” See Anderson, 477 U.S. at 248. A




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dispute over “material fact” is “genuine” if “the evidence is such that a

reasonable jury could return a verdict for the nonmoving party.” Id.

      A party asserting that a fact cannot be, or is, genuinely disputed must

support the assertion by:

      (A) citing to particular parts of materials in the record, including
      depositions, documents, electronically stored information, affidavits
      or declarations, stipulations (including those made for purposes of
      the motion only), admissions, interrogatory answers, or other
      materials; or

      (B) showing that the materials cited do not establish the absence or
      presence of a genuine dispute, or that an adverse party cannot
      produce admissible evidence to support the fact.

Fed. R. Civ. P. 56(c)(1). “An affidavit or declaration used to support or oppose a

motion must be made on personal knowledge, set out facts that would be

admissible in evidence, and show that the affiant or declarant is competent to

testify on the matters stated.” Fed. R. Civ. P. 56(c)(4).

      B.     Discussion

             1.    RLUIPA Claim

      RLUIPA prohibits the government from imposing “a substantial burden

on the religious exercise of a person residing in or confined to an institution,”

unless “that imposition of the burden on that person: (1) is in furtherance of a

compelling governmental interest; and (2) is the least restrictive means of

furthering that compelling governmental interest.” 42 U.S.C. § 2000cc–1(a).

RLUIPA protects “any exercise of religion, whether or not compelled by, or

central to, a system of religious belief,” § 2000cc–5(7)(A), but “a prisoner's

request for an accommodation must be sincerely based on a religious belief and


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not some other motivation.” Holt v. Hobbs, 574 U.S. 352, 135 S. Ct. 853, 862

(2015) (citing Burwell v. Hobby Lobby, ___ U.S. ___, 134 S. Ct. 2751, 2774,

n.28 (2014)).

                      a.   Mootness

      The defendants contend that the plaintiff’s RLUIPA claim is moot

because, given that he’s no longer housed at Green Bay, there is “virtually no

chance” that he ever will be strip searched by a “female.” Dkt. No. 29 at 8. They

claim that because he’s been transferred to another prison, the plaintiff “no

longer faces the possibility of being strip searched by Officer Buhle.” Id. They

also argue that the plaintiff “cannot show he is likely to be transferred back to

GBCI.” Id.

      The plaintiff insists that his RLUIPA claim is not moot. Dkt. No. 49 at 4.

He asserts that the defendants “have shown a pattern of transferring him to a

different prison in order to circumvent judicial scrutiny.” Id. at 5. He describes

another case he brought in federal court, West v. Grams, 607 F. App’x 561,

566 (7th Cir. 2015), in which he alleged that his First Amendment rights were

being violated at Columbia Correctional Institution because the institution was

not holding Islamic services due to a dearth of outside volunteers. Id. The

plaintiff says that

      [i]n the mist of that case being adjudicated, the defendants
      transferred him to GBCI and then screamed “moot,” which the
      district court granted. On appeal, however, the Seventh Circuit
      addressed the defendants’ “moot” argument:

             West’s lawsuit challenges under RLUIPA is a system-
             wide Department of Corrections policy [. . . ] unless
             modified-will apply wherever West is next sent until his
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              release. [W]e are given no reason to conclude that the
              complaint-of-conduct won’t be resumed.

            Rufus West a/k/a Mansa Lutalo Iyapo v. Grams, et al., 2015
      U.S. Appx. 6690.

Id.

      The plaintiff has not sued the State of Wisconsin, and even if he had,

“[RLUIPA] does not include suits for damages against a State.” Sossamon v.

Texas, 563 U.S. 277, 288 (2011). The plaintiff has asserted his RLUIPA claim

against five individual employees of the Department of Corrections, four of

whom are employed at Green Bay; he has asked the court to enjoin “the

Defendants”—these five individuals—“from allowing female staff to strip search

him.” Dkt. No. 16 at 6.

      The Seventh Circuit has explained that a plaintiff seeking injunctive relief

must show that, without the injunction, the alleged wrongful conduct could

“reasonably be expected to occur.” Moore v. Thieret, 862 F.2d 148, 150 (7th

Cir. 1988) (quoting Vitek v. Jones, 445 U.S. 480, 487 (1980)). In explaining how

courts must consider whether the conduct can “reasonably” be expected to

occur in the future, the court explained that

      [t]he doctrine of mootness seeks to preserve the historic conception
      of the federal courts as agencies for the resolution of disputes on
      which something tangible—money, freedom, personal safety,
      reputation, etc.—something more than a desire, understandable as
      it is, for authoritative legal advice or resolution of difficult and
      important questions of law—turns. When the something tangible
      depends on events in the future, the court must estimate the
      likelihood that those events will occur. If the likelihood is small (it is
      never zero), the case is moot.

Id. at 150.


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      The alleged misconduct that the plaintiff complains of took place at

Green Bay, from whence he has been transferred. “If a prisoner is transferred

to another prison, his request for injunctive relief against officials of the first

prison is moot unless he can demonstrate that he is likely to be retransferred.”

Higgason v. Farley, 83 F.3d 807, 811 (7th Cir. 1996). “Allegations of a likely

retransfer may not be based on mere speculation.” Id. A plaintiff who seeks

injunctive relief at one facility and then is transferred must show “a realistic

possibility that he will again be incarcerated in the same state facility and

therefore may be subject to the actions of which he complains [in the current

lawsuit].” Maddox v. Love, 655 F.3d 709, 716 (7th Cir. 2011).

      The plaintiff has provided the court with what he claims is one example

of the defendants transferring him to Green Bay in order to create a mootness

problem. He asserts that he was transferred to Green Bay in the middle of the

litigation in West v. Grams. The plaintiff filed that lawsuit in the Western

District of Wisconsin in mid-October, 2011. West v. Grams, 11-cv-687-slc at

Dkt. Nos. 1, 3. At the time he filed that suit, he was incarcerated at Columbia.

Id. at Dkt. No. 3, page 1. He alleged that various staff members at Columbia

deprived him of his First Amendment rights by prohibiting him from having

worship services (Jum’ah services) and study groups (Talim) and prohibiting

him from observing Eid al-Fitr. Id. at Dkt. No. 3, page 2. The docket shows that

on November 8, 2013, Judge Crocker granted summary judgment in favor of

the defendants, denied the plaintiff’s motion for summary judgment and




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dismissed the case. Id. at Dkt. No. 102. The clerk entered judgment the same

day. Id. at Dkt. No. 103.

      The plaintiff asked Judge Crocker to reconsider his decision. Id. at Dkt.

No. 105. At that time, the plaintiff still was at Columbia. Id. On May 7, 2014,

however—before Judge Crocker had ruled on the motion to reconsider—the

clerk received a notice from the plaintiff that he had been transferred to Green

Bay. Id. at Dkt. No. 108. Several weeks later, Judge Crocker granted the

plaintiff’s motion to reconsider Judge Crocker’s decision that qualified

immunity applied to the plaintiff’s RLUIPA claim but dismissed the claim upon

reconsideration “because [the plaintiff] has been transferred to a new prison.”

Id. at Dkt. No. 109, page 2. Judge Crocker found that because the plaintiff had

been transferred from Columbia to Green Bay, his RLUIPA claims against the

Columbia staff were moot. Id. at Dkt. No. 109, page 7.

      On appeal, the Seventh Circuit found that the plaintiff had not presented

proof that the defendants moved him from Columbia to Green Bay for the

express purpose of mooting his RLUIPA claim. West v. Grams, 607 F. App’x

561, 566 (7th Cir. 2015). The appellate court found that the defendants had

expressed concerns about Judge Crocker’s qualified immunity decision months

before the plaintiff was transferred, and that it was Judge Crocker, not the

defendants, who “brought up the question of mootness.” Id. The court

disagreed, however, that the plaintiff’s transfer rendered his RLUIPA claim

moot. The court explained:

      Under RLUIPA the remedy available to West was limited to
      declaratory or injunctive relief. See Sossamon v. Texas, ___ U.S. ___,
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      131 S. Ct. 1651, 1660 . . . (2011); Vinning-El v. Evans, 657 F.3d 591,
      592 (7th Cir. 2011); Nelson v. Miller, 570 F.3d 868, 886-89 (7th Cir.
      2009). And though a prison transfer might moot a claim for
      injunctive relief if the transfer means that the inmate no longer is
      laboring under the allegedly unconstitutional policy or practice, see
      Maddox v. Love, 655 F.3d 709, 716 (7th Cir. 2011); Ortiz v. Downey,
      561 F.3d 664, 668 (7th Cir. 2009), that is not the case here. West’s
      lawsuit challenges under RLUIPA a system-wide Department of
      Corrections policy that applied at Columbia, still applies at Green
      Bay, and—unless modified—will apply wherever West is next sent
      until his release. In fact, the defendants do not even assure us that
      they have no present intention to transfer West back to Columbia in
      the near future.

Id.

      The fact that the plaintiff was transferred from Columbia—where the

defendants whom he had sued were employed—to Green Bay during the Grams

litigation does not prove that the defendants in this case ever have had him

transferred for the purpose of creating a mootness problem. The Seventh

Circuit found no evidence that the Grams defendants—most of whom worked

at Columbia and none of whom worked at Green Bay—had the plaintiff

transferred solely to create a mootness issue. The plaintiff has presented no

evidence that the defendants in this case were involved in his May 2014

transfer from Columbia to Green Bay. The plaintiff has not presented evidence

that the defendants in this case or the defendants in Grams have the authority

to transfer him from one facility to another.

      The question the court must answer, however, is not whether the

plaintiff has shown that the defendants he has sued in this case are likely to

transfer him in order to avoid this or other lawsuits. The question is whether

the plaintiff has shown a realistic possibility that he will be re-incarcerated at


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Green Bay, where Buhle works. It is true that the plaintiff has been at

Redgranite for over a year—since February 15, 2019. Dkt. No. 30 at ¶1. But his

maximum discharge date is September 10, 2024. Id. at ¶42. As of the date the

court writes this order, the plaintiff has over five years left to serve on his

sentence (if he is not released prior to his MR date). The plaintiff asserts that

he has been sent to Green Bay three times since 1998. Dkt. No. 48 at ¶76. The

Wisconsin Department of Corrections Inmate Locator web site supports that

assertion. https://appsdoc.wi.gov/lop/detail.do.

      The defendants have not stated that the Department of Corrections will

never transfer to the plaintiff back to Green Bay. They assert only that because

the plaintiff is not at Green Bay now, he is in no danger of being strip searched

by Buhle. That argument does not address the question of whether there is a

realistic possibility that the plaintiff could be transferred back to Green Bay in

the future. Given that the DOC has sent the plaintiff to Green Bay three times

in the past twenty-one years, this court cannot conclude that there is no

reasonable possibility that he might be transferred there again in the next five

years. The court does not agree that the plaintiff’s RLUIPA claim is moot.

      The defendants also argue that the plaintiff is “not likely to be strip

searched by any alleged female at Redgranite.” Dkt. No. 29 at 8. In their reply

brief, the defendants emphasize that there are no transgender men working at

Redgranite. Dkt. No. 56 at 2 (citing Dkt. No. 30 at ¶44). They also argue that it

is “highly unlikely that [the plaintiff] will encounter another transgender officer

at the Department of Corrections even if he transfers again,” given how few


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people in Wisconsin identify as transgender men (and, implicitly, the fact that

even fewer are likely to work for the DOC as prison staff). Id. The court agrees

with the defendants that there is a much lesser likelihood that the plaintiff

might be searched by a transgender male at facilities other than Green Bay.

But there is no dispute that, as of time the parties were filing their briefs, there

was a transgender staff member at Green Bay, and the court has found that

there is a reasonable possibility that the plaintiff could be transferred there.

      The court notes one other thing before moving on. In their brief in

support of summary judgment, the defendants state that while “the policies in

place technically would allow for a future strip search by a transgender man,”

it is not reasonable to expect the plaintiff to be subject to such a search under

his circumstances. Dkt. No. 29 at 9. The court is not sure which “policies in

place” the defendants mean. The parties do not dispute that neither DAI policy

nor PREA regulations explicitly consider transgender staff with respect to strip

searches. The defendants have explained that the DOJ has “issued guidance”

on the issue of what gender transgender staff should be considered for the

purposes of complying with “cross-gender viewing and searching prohibitions”

under the PREA. Dkt. No. 30 at ¶¶22, 23. But the defendants have not

asserted that it is DOC policy to follow that guidance, or even that it is Green

Bay’s or Redgranite’s policy to follow that guidance. And even if the DOC

officially follows the DOJ’s guidance, that guidance provides only that in the

absence of a specific statute, rule or regulation, each individual facility should

make its own, individualized determinations about transgender staff. The court


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assumes the defendants must mean that if the DOC follows the DOJ guidance,

it is possible that facilities other than Green Bay could, if they had transgender

male employees, decide to treat that employee as male for the purposes

conducting and viewing searches.

                    b.     Substantial Burden

        RLUIPA prohibits the government from imposing a substantial
        burden on the religious exercise of a person residing in or confined
        to an institution unless the burden furthers a compelling
        governmental interest through the least restrictive means. Cutter v.
        Wilkinson, 544 U.S. 709, 715 (2005). “[T]he plaintiff bears the initial
        burden of showing (1) that he seeks to engage in an exercise of
        religion, and (2) that the challenged practice substantially burdens
        the exercise of that religion.” Koger v. Bryan, 523 F.3d 789, 796 (t7h
        Cir. 2008). Once a plaintiff has established that prima facie case, the
        burden shifts to the defendant, who must show that its practice is
        the least restrictive way of furthering a compelling government
        interest. Id.

Howard v. Ministries, No. 14-C-1464, 2017 WL 6507091, at *7 (E.D. Wis. Dec.

18, 2017). The plaintiff’s litigation history demonstrates that he seeks to

engage in the exercise of his Islamic faith, and the defendants do not dispute

that.

        The defendants argue, however, that the plaintiff cannot show that the

July 2, 2016 search or the “policy” of treating staff based on the gender by

which they identify themselves substantially burdened his exercise of that

religion.4 Dkt. No. 29 at 9. RLUIPA itself does not define what it means by

“substantial burden.” The Supreme Court has held that conduct constitutes a



4
 The court puts the word “policy” in quotes because, as it has discussed, the
defendants are not clear on whether there is a policy, and if so, whether it is an
institution-specific policy or a DOC policy.
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substantial burden when it requires a person to “engage in conduct that

seriously violates [his] religious beliefs.” Holt v. Hobbs, 574 U.S. 352, 135 S. Ct.

853, 862 (2015) (quoting Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682,

720 (2014)). The Seventh Circuit has observed, however, that this definition

“leaves a lot of uncertainty.” Schlemm v. Wall, 784 F.3d 362, 364 (7th Cir.

2015).

      How is a court to tell whether a given restriction “seriously” violates
      or contradicts religious beliefs? What, indeed, does “seriously”
      mean?—more than “modestly” and less than “overwhelmingly,” but
      there’s a lot of space in that range.

Id. at 364-65. Even in the face of that uncertainty, however, the Seventh

Circuit has read the Supreme Court’s decisions in Holt (and the case the Holt

Court cited, Hobby Lobby) to mean that “RLUIPA’s substantial burden inquiry

robustly supports inmate religious practice—it specifically disapproved of the

practice of offsetting against the burden imposed by the rule any other religious

accommodations offered or the strength of the religious command.” Jones v.

Carter, 915 F.3d 1147, 1150 (7th Cir. 2019).

      The defendants argue that the plaintiff cannot show that his religious

practice was substantially burdened by the July 2, 2016 search because Buhle

didn’t strip search the plaintiff. Dkt. No. 29 at 10. While Buhle attested in his

declaration that he didn’t remember the incident, the defendants assert that

Buhle “only observed the staff member who was doing the strip search.” Id.

They say that in that role, Buhle wouldn’t have been able to see the plaintiff’s

“private parts due to the curtain.” Id. The plaintiff agrees that Buhle didn’t

search him (at his request) but says that Buhle “looked on and observed.” Dkt.
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no. 43 at ¶20. His supplemental proposed findings of fact assert that Buhle

“observed [his] nakedness” during the search. Dkt. No. 48 at ¶62. He reiterated

this assertion in his response to the defendants’ response to his proposed

findings (a pleading that this court doesn’t allow, but that’s another

discussion). Dkt. No. 61 at ¶20. The defendants concede in their reply brief

that the parties dispute this fact. Dkt. No. 56 at 2-3.

      The defendants contend, however, that even if Buhle saw the plaintiff

naked on July 2, 2016, that single incident did not substantially burden the

plaintiff’s exercise of his religion. Id. at 3. The court agrees. The plaintiff was at

Green Bay from May 2014 through February 2019. Green Bay hired Buhle in

January 2016, dkt. no. 30 at ¶35; the incident at issue took place six months

later, in July 2016. The plaintiff has asserted that the July 2, 2016 search was

the first time in his history of imprisonment that he’d ever heard of such a

thing happening. Dkt. No. 43 at ¶22. He has asserted that though he has been

in custody since 1994, he never had been strip searched by “a female staff

member.” Id. at ¶13. The plaintiff signed his complaint on March 29, 2017, dkt.

no. 1 at 7, nine months after the July 2, 2016 incident, but made no reference

to any other search involving Buhle. There is no evidence that the plaintiff was

strip searched in Buhle’s presence on more than one occasion.

      In this respect, the plaintiff’s claim differs from other claims in which

courts in this circuit have found that prison staff substantially burdened an

inmate’s free exercise of his religion. In Schlemm, the Seventh Circuit reversed

a district court’s grant of summary judgment in favor of the defendants on the


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Native American plaintiff’s claim that the institution’s refusal to provide

traditional foods at the annual Ghost Feast violated RLUIPA. Schlemm, 784

F.3d at 365-66. The defendants in Schlemm had repeatedly refused to provide

traditional foods at a feast that took place every year to a defendant who had

been in custody since 1999. In Ajala v. West, 106 F. Supp. 3d 976 (W.D. Wis.

2015), Judge Barbara Crabb concluded that the prison’s prohibition against

prisoners wearing religious headgear outside their cells imposed a substantial

burden on the plaintiff under RLUIPA, because his beliefs required him to wear

a kufi cap at all times. This was an on-going, continuous practice by the

institution; every day, they required the plaintiff to remove the kufi cap when

he wasn’t in his cell. In Walker v. Scott, No. 13-3153, 2015 WL 5450497 (C.D.

Ill. Sept. 15, 2015), the court found that the prison’s refusal to grant the

Muslim plaintiff’s request for Halal or Kosher meals substantially burdened his

exercise of his religion—again, an on-going burden imposed at every meal. See

also, Jones, 915 F.3d at 1150 (institution’s refusal to provide Muslim inmate

with Halal diet that included meat imposed a substantial burden under

RLUIPA). In Aiello v. West, 207 F. Supp. 3d 886 (W.D. Wis. 2016), Judge

Conley found that the institution imposed a substantial burden on the Jewish

plaintiff’s exercise of his religion when it stopped holding in-person, group

Shabbat services (which it had not held for over a year). Judge Peterson found

in Tanksley v. Litscher, No. 15-cv-126-jdp, 2017 WL 3503377 (W.D. Wis. 2017)

that prohibiting an inmate who practiced the Hermetic Order of the Golden




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Dawn from using a particular tarot card deck imposed a substantial burden on

his religious practice.

      In each of these cases, the institution implemented a policy that

consistently and repeatedly prevented the inmate from exercising his religion.

Whether the institution burdened the inmate’s religious exercise every year

(Schlemm), every week (Aiello), every day (Ajala) or several times a day (Walker),

the burden was repeated and on-going. In contrast, the plaintiff has not

asserted that the policy of strip searching inmates after they have outside

visitors substantially burdens the exercise of his religion5. He has not asserted

that Green Bay’s hiring of a transgender staff member substantially burdened

his religious exercise. He has not alleged that Buhle was assigned to participate

in all strip searches. He has alleged that on a single occasion, the institution’s

policy of strip searching inmates after visits was implemented by staff which

included a transgender staff member, that he asked that the transgender staff

member not conduct the search, that the transgender staff member complied

and did not conduct the search and that the transgender staff member saw

him naked.

      The court’s conclusion is bolstered by the plaintiff’s own assertions that

his religion forbids him from “exposing his nakedness . . . to anyone except his

wife.” Dkt. No. 43 at ¶12; Dkt. NO. 42 at 1. He indicates that in a hadith (a

saying of the Prophet), the Prophet stated that “[a] man should not see the



5
 Though he does dispute the defendants’ contention that “strip searches are
generally necessary.” Dkt. No. 50 at ¶45.
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private parts of another man, and a woman should not see the private parts of

another woman.” Id. at ¶37. In his opposition brief, the plaintiff asserted that

because he is Muslim, “it is obligatory for him to protect his nakedness from

men and women and that the only person whom he is allowed to expose

himself to is his wife.” Dkt. No. 49 at 6. He asserts that “[w]hether the person is

a male or female, Islam prohibits [the plaintiff] from exposing his nakedness to

anyone but his wife, so that is what [the plaintiff] believes.” Id. at 7.

      Given the plaintiff’s own statements that it violates his religious beliefs

for him to be seen naked by people of any gender if those people are not his

wife, he cannot establish that a single incident of a transgender man seeing

him naked imposed a substantial burden on the exercise of his religion. The

plaintiff has not argued—as one might expect if he believes that being naked in

front of anyone but his wife violates his religious beliefs—that any strip search

conducted by anyone of any gender imposes a substantial burden on the

exercise of his religion. It is not clear why being seen naked by a transgender

person imposes more of a burden on the plaintiff’s religious exercise than being

seen naked by a person who was born with male physiology.

      Even under the less stringent, post-Holt standard, the court cannot

conclude that this single incident constituted a “substantial burden” on the

plaintiff’s exercise of his religion, or that the plaintiff has stated a prima facie

case that the defendants violated his rights under RLUIPA.




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                    c.    Compelling Interest/Least Restrictive Means

      In an abundance of caution, the court considers whether, if the plaintiff

had demonstrated that the incident constituted a substantial burden on the

exercise of his religion, the defendants would have met their burden of showing

that they had a compelling government interest in having Buhle participate in

the July 2, 2016 search and that having him do so was the least restrictive

means for serving that interest.

      The defendants assert that they had several compelling interests in

Buhle’s participation in the July 2, 2016 search. They argue that the state has

a compelling interest in complying with Title VII of the Civil Rights Act of 1964

and in not violating an employee’s rights under the Equal Protection Clause.

Dkt. No. 29 at 12-13. They also argue that the state has a compelling interest

in efficient prison management. Id. at 14-15. Finally, they argue that the state

has a compelling interest in protecting the medical privacy of employees—

particularly prison staff. Id. at 15.

                          i.     Compliance with the law

      At present, the Supreme Court has not decided the question of whether

Title VII of the Civil Rights Act prohibits discrimination against transgender

people. On April 22, 2019, it accepted certiorari in that question in R.G. & G.R.

Harris Funeral Homes, Inc. v. E.E.O.C., ___ U.S. ___ 139 S. Ct. 1599 (Mem),

2019 WL 1756679 (2019). Nor has the Seventh Circuit decided this question,

despite the defendants’ assertion to the contrary. In Whitaker by Whitaker v.

Kenosha Unified School District No. 1 Board of Education, 858 F.3d 1034,


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1049 (7th Cir. 2017), the Seventh Circuit noted that “[s]everal district courts

have . . . [found] that a transgender plaintiff can state a claim under Title VII

for sex discrimination on the basis of a sex-stereotyping theory.” (Citations

omitted.) But the court did not adopt that holding, because it was not

considering a Title VII claim. The Whitaker court was considering whether the

transgender plaintiff had demonstrated that he had a probability of success on

the merits of at Title IX claim. As far as the court can tell, as of the July 2,

2016 search incident, there was no controlling federal precedent holding that

Title VII prohibits discrimination against transgender people. The fact that the

defendants want to avoid violating Title VII is commendable, but it is not clear

that in July 2016, that desire would have provided them with a compelling

interest to have Buhle participate in cross-viewing and searches.

       The defendants’ assertion that they had a compelling government

interest in avoiding violations of staff equal protection rights may have more

traction. Prior to July 2, 2016, there were federal courts within the Seventh

Circuit which had concluded that a transgender person who argued that he or

she was treated differently than others based on their transgender status had a

colorable equal protection claim. See, e.g., Brown v. Godinez, No. 15-cv-115-

JPG, 2015 WL 1042537 (S.D. Ill. Mar. 5, 2015); Johnson v. Robinson, No. 15-

cv-298-SMY, 2015 WL 1726965 (S.D. Ill. Apr. 13, 2015). The Department of

Corrections may have been aware in the summer of 2016 that treating

transgender staff differently than non-transgender staff could give rise to

claims under the equal protection clause.


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      It is very likely that by July 2, 2016, the defendants were aware of the

DOJ guidance on treatment of transgender staff in conducting cross-views and

searches in a way that would not violate PREA. The DOJ guidance is dated in

2014. When Buhle was hired in January 2016, Eckstein and others asked the

human resources department (presumably of the DOC) about the assignment

of gender-specific duties to Buhle. Dkt. No. 32 at ¶5. The human resources

department responded that if an employee identified as a certain gender,

institution management “should respect that and assign duties accordingly.”

Id.

      In Holt, the Supreme Court stated that application of the compelling

interest test “contemplates a ‘“more focused”’ inquiry and ‘“required the

Government to demonstrate that the compelling interest test is satisfied

through application of the challenged law ‘to the person’—the particular

claimant whose sincere exercise of religion is being substantially burdened.”’”

Holt, 574 U.S. at 863 (quoting Hobby Lobby, 134 S. Ct. at 2779)). A court must

look at the harm that the defendants allege would be caused by giving an

exemption to the plaintiff and balance it against the interest in enforcing the

challenged government action—the defendants’ assignment of Buhle to conduct

searches—in the plaintiff’s context. Id.

      The court concludes that the defendants could have met their burden of

showing that they had a compelling government interest in not violating

employees’ equal protection rights and in respecting employees’ gender

identification, even in the plaintiff’s specific context. Buhle was hired as a male


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corrections officer and was told that he’d be performing the same duties as

other male corrections officers. He was told that his duties would include all

the duties of a male corrections officer, including performing strip searches.

Dkt. No. 30 at ¶36. For the defendants to then prohibit Buhle from performing

strip searches would have put the defendants at risk for a claim that they were

discriminating against Buhle based on his transgender status, even if requiring

Buhle to perform those duties ended up imposing a burden on the plaintiff’s

exercise of his religion on one occasion.

      The plaintiff also implies that the defendants could avoid burdening his

religious exercise by refusing to hire transgender corrections officers or

refusing to allow transgender officers to participate in strip searches. He says

that for decades the DOC complied with their own rules that prohibit cross-

gender strip searches after visits. Dkt. No. 49 at 12. For the defendants to

refuse to hire transgender corrections officers would create the liability risks

the court has discussed, as would prohibiting such officers from engaging in

the routine tasks performed by non-transgender officers. More to the point, the

plaintiff assumes that in his twenty-seven years in custody, he has never been

strip searched or seen naked by a transgender person—an assumption which

may not be supportable.

      The defendants could have met their burden on this compelling

government interest.




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                         ii.   Effective prison management

      The defendants argue that depending on the time of day and the work

shift, Green Bay has between fifty-six and sixty-nine uniformed staff members

posted throughout the prison. Dkt. No. 29 at 14. They state that to make sure

that strip searches are conducted in a consistent and timely way, certain

“positions” are assigned to conduct the searches. Id. They argue that if inmates

were able to decline a search based on their perception of the searching staff

member’s gender, it would be “logistically impossible” for them to post

assignments. Id.

      Buhle is a corrections officer. Corrections officers are required to perform

strip searches as needed. Presumably there are many occasions when strip

searches are needed—when officers suspect inmates have contraband on (or in)

their persons, when new inmates arrive at the institution, after inmates have

met with outside visitors. The only way for the defendants to avoid the

possibility of Buhle strip searching an inmate whose religious beliefs might be

offended, or acting as the observing officer when someone else strip searched

an inmate whose religious beliefs might be offended, would be to assign Buhle

to a position where he never would be required to participate in strip searches,

or to assign him to an area of the prison in which there were no inmates whose

religious beliefs might be offended. Even if either of these options were possible,

the logistics would constitute more than an effort to save a few dollars and

more than a “bureaucratic desire to follow the prison system’s rules.”

Schlemm, 784 F.3d at 365. The court acknowledges that RLUIPA “requires


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prison to change their rules to accommodate religious practices,” and that the

existence of a rule, in and of itself, “is not a compelling obstacle to change.” Id.

But the degree of interference with the prison’s ability to assign its staff to

prevent the possibility that at some point, there might be a need to strip search

the plaintiff and Bruhle might be one of the assigned officers in that place at

that time, indicates to this court that assigning Bruhle to the same duties as

other male officers was the least restrictive means of serving the prison’s need

for effective management.

                          iii.   Medical privacy of staff

      Finally, the defendants argue that they have a compelling government

interest in protecting the privacy of employee medical information. They say

that “[i]f specific duties were dependent on the staff’s private medical

information, inmates are likely to be able to determine personal information

about staff that should remain confidential.” Dkt. No. 29 at 15. They say that if

inmates could learn about a staff member’s medical information, it could put

that staff member at risk for harassment and abuse, make staff vulnerable to

threats of blackmail and could create the potential that inmates could “try to

take advantage of a situation in which they can control which staff are

permitted to strip search them based on any nuance found in their stated

religious beliefs.” Id. In their reply brief, the defendants point out that even

though the plaintiff claims Buhle was candid with inmates about his transition,

the plaintiff had demanded discovery relating to whether Buhle was born with

a female physiology. Dkt. No. 56 at 4-5.


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      Most of this argument is unpersuasive. The defendants seem to believe

that the only way an inmate might find out about a staff member’s medical

situation is if staff members with certain medical histories were assigned to

certain tasks. Inmates can observe physical conditions. They likely can

conclude that a staff member with a hacking, persistent cough is a smoker, or

has lung cancer. They likely can conclude that a staff member with a black eye

has been in a fight, or has fallen. Inmates can look at a person who has

physical characteristics traditionally associated with someone of the female

gender and conclude—perhaps correctly, perhaps incorrectly—that that person

may not always have identified himself as male. They can make those

observations, and draw those conclusions, even without medical records, and

even if they are wrong. Inmates likely are capable of finding reasons to harass

or abuse or try to blackmail staff members even if they do not have access to

the staff members’ medical records.

      This “medical privacy” argument is actually the defendants’ argument

that they have a compelling government interest in prison administration,

stated in a different way. Prison staff members come in all shapes and sizes,

like all humans. Some men may be short and slight and have little facial hair.

Some may have visible breasts. Some may seem—to the plaintiff—to behave in

what he considers to be “effeminate” ways. The plaintiff himself admits that he

objected to Buhle’s participation in the search, not because he knew Buhle was

transgender, but because having viewed Buhle’s physical appearance, the

plaintiff believed that Buhle was a woman. Taken to its logical conclusion, the


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plaintiff could argue that being strip searched, or seen naked, by someone who

seems feminine to him substantially burdens his religious practice. He could

argue that being seen naked or strip searched by someone whom he perceives

to be homosexual imposes a substantial burden on his religious practice. He

could, as the court has indicated, argue that being seen naked or strip

searched by anyone who isn’t his wife could substantially burden his religious

practice. Such arguments would make it impossible for the defendants—or any

other prison officials in any facilities where the plaintiff may be incarcerated

between now and his release—to perform their jobs as members of a prison

staff.

                     d.    Conclusion

         While the plaintiff’s RLUIPA claim is not moot, he cannot show that the

incident on July 2, 2016 imposed a substantial burden on his exercise of

religion. Even if he had made such a showing, the defendants have met their

burden of proving a compelling government interest in assigning Buhle the

same duties as any other male correctional officer (prison administration and

management), and have shown that assigning Buhle those duties was the least

restrictive means of serving that interest. The court will grant summary

judgment in favor of the defendants on the RLUIPA claim.

               2.    First Amendment Free Exercise Claim

         RLUIPA provides “expansive protection for religious liberty.” Holt, 574

U.S. at 860. It requires prisons that receive federal funding to accommodate

sincere religious exercise. Borzych v. Frank, 439 F.3d 388, 390 (7th Cir. 2006)


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(citations omitted). In contrast, the First Amendment “does not require the

accommodation of religious practice: states may enforce neutral rules.” Id.

(citations omitted). In other words, “RLUIPA ‘confers greater religious rights on

prisoners than the free exercise clause has been interpreted to do’ . . . .” Neely-

Bey Tarik-El v. Conley, 912 F.3d 989, 1004 (7th Cir. 2019) (quoting Grayson v.

Schuler, 666 F.3d 450, 451 (7th Cir. 2012)). The Seventh Circuit has

concluded that when a plaintiff’s “best argument” is his RLUIPA argument, “it

is unnecessary to consider the Constitution further.” Borzych, 439 F.3d at 390.

Other district courts have declined to separately analyze a plaintiff’s First

Amendment free exercise claim if they determine that his RLUIPA claim did not

survive summary judgment. See, e.g., Dangerfield v. Ewing, No. 18-cv-737-jdp,

2020 WL 94758 (W.D. Wis. Jan. 8, 2020).

      Here, the plaintiff’s First Amendment free exercise claim fails for the

same reasons that his RLUIPA claim failed. The defendants contend that the

plaintiff’s First Amendment claim fails because his ability to practice his

religion has not been substantially burdened and because allowing transgender

male officers to strip search male inmates is reasonably related to legitimate

penological interests. Dkt. No. 29 at 17-19.

      Prisoners have a limited right to exercise their religion under the First

Amendment. See O’Lone v. Estate of Shabazz, 482 U.S. 342, 348-49 (1987);

Turner v. Safley, 482 U.S. 78, 89-91 (1987); Tarpley v. Allen Cty., 312 F.3d

895, 898 (7th Cir. 2002). The Seventh Circuit recently reiterated the standard

for a free exercise claim:


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      To establish a free exercise claim, [the plaintiff] “had to submit
      evidence from which a jury could reasonably find that the
      defendants personally and unjustifiably placed a substantial burden
      on his religious practices.” Thompson v. Holm, 809 F.3d 376, 379
      (7th Cir. 2016) (citing Hernandez v. C.I.R., 490 U.S. 680, 699, 109
      S.Ct. 2136, 104 L.Ed.2d 766 (1989)). The Supreme Court has
      explained that a substantial burden is one that “put[s] substantial
      pressure on an adherent to modify his behavior and to violate his
      beliefs.” Thomas v. Review Bd., 450 U.S. 707, 718, 101 S.Ct. 1425,
      67 L.Ed.2d 624 (1981). In the prison context, such a burden is
      justified if it is “reasonably related to a legitimate penological
      interest.” Thompson, 809 F.3d at 380 (citing Turner v. Safley, 482
      U.S. 78, 89–91, 107 S. Ct. 2254, 96 L.Ed.2d 64 (1987)).

Neely-Bey, 912 F.3d at 1003.

      The court already has determined that the plaintiff has not submitted

evidence from which a jury could reasonably find that the defendants

personally and unjustifiably placed a substantial burden on his religious

practices. The plaintiff alleges a single incident in which someone he claims

was a woman saw him naked, and argues that this event burdened his exercise

of religion despite the fact that Buhle acceded to his request that Buhle not

search the plaintiff, Buhle never participated in another search of the plaintiff

and the plaintiff himself says that having anyone other than his wife see him

naked violates the tenets of Islam.

      The court also has determined that the defendants’ assigning Buhle the

same duties as any other male correctional officer was reasonably related to a

legitimate penological interest—prison management and administration. There

is a valid, rational connection between the policy of assigning transgender male

corrections officers the same duties as other male corrections officers, and a

legitimate government interest behind doing so. Accommodation of the


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plaintiff’s alleged right to be free from being viewed by a transgender male

would have a negative impact on guards, other inmates and the allocation of

prison resources. There were no other obvious, easy alternatives to assigning

transgender male corrections officers the same tasks as other male corrections

officers.

       The one factor the court did not consider in analyzing the plaintiff’s

RLUIPA claim was the question of whether there were alternative means

available to the plaintiff to exercise his religion. Turner, 482 U.S. at 89–91.

Where an inmate has “other avenues” to exercise the asserted right, the court

must “be particularly conscious of the ‘measure of judicial deference owed to

corrections officials . . . in gauging the validity of the regulation.’” Turner, 482

U.S. at 90 (citing Pell v. Procunier, 417 U.S. 817, 827 (1974)). It is undisputed

that the plaintiff had multiple alternative means of exercising his religious

rights at Green Bay. He had four Qurans, other religious texts, a kurta shirt, a

kufi cap, a Mishquat, vicar beads, an Islamic ring, a shawl, prayer oil and a

prayer rug. Dkt. No. 30 at ¶62. He was able to pray five times per day. Id. at

¶63. The plaintiff also attended weekly Jum’ah services and weekly study

groups. Id. at ¶64.

       This factor is an awkward fit, however, in the circumstances the plaintiff

has alleged. He does not allege that the defendants prevented him from taking

some affirmative action, such as praying or fasting or attending services. He

alleges that the defendants forced him to do something that violates his beliefs.

His ability to pray or attend Jum’ah services or fast does not provide an


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“alternative means” for him to avoid doing something that he claims violates

his religious beliefs.

      That said, the Turner test is a balancing test, and most of the factors

weigh in the defendants’ favor. The defendants have demonstrated a rational

basis for allowing Buhle, a transgender male officer, to act as the observing

officer during the strip search on July 2, 2016. A reasonable factfinder could

not conclude that assigning Buhle to conduct and observe strip searches like

other male officers, or Buhle’s observation of the plaintiff’s July 2, 2016 strip

search, violated the plaintiffs’ right to freely exercise his religion. The

defendants are entitled to summary judgment on the First Amendment claim.

             3.     Failure to Intervene Claim

      The defendants also argue that the court should dismiss the First

Amendment claim as to defendants Hompe and O’Donnell because their only

involvement was in the grievance process and they committed no underlying

constitutional violation. Dkt. No. 29 at 21. The defendants also state that

Hompe and O’Donnell were not sufficiently personally involved in the events

surrounding the July 2, 2016 search such that they can be held personally

liable under §1983, given that their only involvement was in the grievance

process. Id. at 21-22.

      Because the court has granted summary judgment in favor of the

defendants on the RLUIPA and First Amendment claims, there is no underlying

constitutional violation in which Hompe and O’Donnell could have intervened.

The court will grant summary judgment in favor of Hompe and O’Donnell.


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III.   Conclusion

       The court ORDERS that the defendants’ motion for summary judgment

is GRANTED. Dkt. No. 28.

       The court ORDERS that the plaintiff’s motion for summary judgment is

DENIED. Dkt. No. 42.

       The court ORDERS that this case is DISMISSED and will enter judgment

accordingly.

       This order and the judgment to follow are final. A dissatisfied party may

appeal this court’s decision to the Court of Appeals for the Seventh Circuit by

filing in this court a notice of appeal within 30 days of the entry of judgment.

See Federal Rule of Appellate Procedure 3, 4. This court may extend this

deadline if a party timely requests an extension and shows good cause or

excusable neglect for not being able to meet the 30-day deadline. See Federal

Rule of Appellate Procedure 4(a)(5)(A).

       Under limited circumstances, a party may ask this court to alter or

amend its judgment under Federal Rule of Civil Procedure 59(e) or ask for relief

from judgment under Federal Rule of Civil Procedure 60(b). Any motion under

Federal Rule of Civil Procedure 59(e) must be filed within 28 days of the entry

of judgment. The court cannot extend this deadline. See Federal Rule of Civil

Procedure 6(b)(2). Any motion under Federal Rule of Civil Procedure 60(b) must

be filed within a reasonable time, generally no more than one year after the

entry of the judgment. The court cannot extend this deadline. See Federal Rule

of Civil Procedure 6(b)(2).


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      The court expects parties to closely review all applicable rules and

determine, what, if any, further action is appropriate in a case.

      Dated in Milwaukee, Wisconsin this 9th day of March, 2020.

                                      BY THE COURT:


                                      ________________________________________
                                      HON. PAMELA PEPPER
                                      Chief United States District Judge




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                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

RUFUS WEST,

             Plaintiff,
                                            JUDGMENT IN A CIVIL CASE
        v.
                                                  Case No. 17-cv-482-pp
JOHN KIND, SCOTT ECKSTEIN,
BRAD HOMPE, CINDY O'DONNELL,
ISAAC BUHLE, PETE ERICKSON,
BRIAN FOSTER, and SARAH COOPER,

             Defendants.


     Jury Verdict. This case came before the court for a trial by jury. The
parties have tried the issues, and the jury has rendered its verdict.

     Decision by Court. This case came before the court, the court has
decided the issues, and the court has rendered a decision.


      THE COURT ORDERS AND ADJUDGES that the plaintiff’s complaint
under 42 U.S.C. §1983, that the defendants violated his constitutional rights,
is DISMISSED.

     THE COURT ORDERS that the defendants’ motion for summary
judgment is GRANTED, dkt. no. 28; the plaintiff’s motion for summary
judgment is DENIED, dkt. no. 42.

        THE COURT ORDERS that this case is DISMISSED.

        Approved and dated in Milwaukee, Wisconsin this 9th day of March,
2020.

STEPHEN C. DRIES                            BY THE COURT:
Clerk of Court

s/ Cary Biskupic
(by) Deputy Clerk                           HON. PAMELA PEPPER
                                            Chief United States District Judge




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